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UNITED STATES DlSTRlCT (,`OUR'I`
FOR THE WESTERN DlSTRiCT OF TENNESSEE
EASTERN DlVlSION

 

CAROLYN V. SCOTT, INDIVIDUALLY,
AND AS NEXT OF FRIEND OF
DESHAWN SCOTT

 

Plaintiff,

   
 

JURY TRIAL DEMANDED
WILLlAl\/l ROGrlERS_1 CHRISTINE
ROGERS; and BETH McCLURE d/b/a
REALTY SHOPPE

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v_ - ) CIVIL ACT]ON NO. l:()4-cv-12 4-T/An
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Defendants. )
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.IOINT PETITION TO CONTINUE T L DATE
AND AMEND SCHEDULTN RDER

 

     
   
  
   
   
   
 
 
 

Come now the parties by and throu counsel and jointly move this Court l`or an order
continuing the trial in this matter and a riding the Scheduling Order and in support ot`Which Would
state as t`ollows:

l. This is a ction under the Fair Housing Act, 42 S.C. §1981, 1983 and the Tennessee

Human Rights A‘ alleging racial discrimination arising out of the sale of a home in Lexington,

Tennessee. he parties have engaged in extensive discovery and have diligently attempted to

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but which were not able to bc completed within that time due to the length ol`other depositions taken
in the inatter.

7. The parties are in agreement that the Scheduling Order needs to be modified to allow
the parties additional time to complete discovery and allow the parties to file dispositive motions
based upon the information obtained through discovery. All parties realize that the only way that the
Scheduling Order can be amended to allow the completion of discovery and to tile dispositive
motions is if the trial date in the matter is continued so that discovery can be completed and
dispositive motions filed within the time parameters generally required by the Court. Accordingly,
all parties join in this motion and ask the Court to enter an Order continuing the trial and allowing
them to enter into a new Scheduling Order to allow them to complete discovery and tile dispositive
motions

3. If the Court deems it necessary, the parties hereby request a telephonic hearing with
the Court to address these issues.

WHEREFORE PR_EM]SES CONSIDERED, the parties jointly request that the Court enter
an Order continuing the trial in this matter and allow them to enter into a new Scheduling Order
which would enable them to complete discovery and file dispositive within the time parameters
generally required by the Court.

Respectfully submitted

WEIN'MA & ASSOCIATES

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Notice of Distribution

This notice confirms a copy of the document docketed as number 32 in
case 1:04-CV-01284 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

